      Case:17-03283-LTS Doc#:13597-14
7/9/2020                      CM/ECF LIVE Filed:07/09/20             Entered:07/09/20
                                          - U.S. District Court for the District of Puerto Rico 12:30:41   Desc:
Other Orders/Judgments     Order in 20-CV-1307         LTS       Page     1 of 2
 3:20-cv-01307-LTS Rosario v. The Financial Oversight and Management Board for Puerto Rico

                                                           United States District Court

                                                                District of Puerto Rico

Notice of Electronic Filing

The following transaction was entered on 7/9/2020 at 11:33 AM AST and filed on 7/9/2020
Case Name:           Rosario v. The Financial Oversight and Management Board for Puerto Rico
Case Number:         3:20-cv-01307-LTS
Filer:
Document Number: 7

Docket Text:
ORDER re [3] COMPLAINT filed by Yashei Rosario. The Court will henceforth construe the Complaint's
request for stay relief as a motion for relief from the automatic stay, and transfer it to Case No. 17-3283 for
consideration as a contested matter in the Commonwealth's Title III case. Signed by Judge Laura Taylor
Swain on 07/09/2020.(ct)


3:20-cv-01307-LTS Notice has been electronically mailed to:

3:20-cv-01307-LTS Notice has been delivered by other means to:

Yashei Rosario
HC-2 Box 12914
Vieques, PR 00765

The following document(s) are associated with this transaction:

Document description:Main Document
Original filename:n/a
Electronic document Stamp:
[STAMP dcecfStamp_ID=1051795991 [Date=7/9/2020] [FileNumber=7000875-0]
[9346880bb7d36ad181f31e43dc77dbda54ed2ea804017b43ad0945f2b3ddb9b1f1da
9d9bd9041d23b6c6b0be5092df1b0cec629d38572568d097bc3ea14845f8]]




https://ecf.prd.circ1.dcn/cgi-bin/Dispatch.pl?194862786902407                                                      1/1
Case:17-03283-LTS
         Case 3:20-cv-01307-LTS
                   Doc#:13597-14 Document
                                    Filed:07/09/20
                                              7 Filed
                                                    Entered:07/09/20
                                                      07/09/20 Page 12:30:41
                                                                     1 of 1                            Desc:
                       Order in 20-CV-1307 LTS Page 2 of 2



                                  UNITED STATES DISTRICT COURT
                                 FOR THE DISTRICT OF PUERTO RICO

 ------------------------------------------------------------x
 YASHEI ROSARIO,

                           Plaintiff,

         -v-
                                                                                  Case No. 3:20-cv-1307-LTS
 THE FINANCIAL OVERSIGHT AND
 MANAGEMENT BOARD FOR PUERTO RICO,

         as representative of

 THE COMMONWEALTH OF PUERTO RICO,
 et al.,

                            Defendants.
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                             ORDER REGARDING MOTION OF STAY RELIEF
                      BASED ON MODERN LEGAL GENOCIDE (DOCKET ENTRY NO. 3)

                 The Court has received and reviewed the Motion of Stay Relief Based on Modern
 Legal Genocide (Docket Entry No. 3 in 3:20-cv-1307, the “Complaint”), filed by Plaintiff Yashei
 Rosario. The Court will henceforth construe the Complaint’s request for stay relief as a motion
 for relief from the automatic stay (the “Motion”), and transfer it to Case No. 17-3283 for
 consideration as a contested matter in the Commonwealth’s Title III case. In the interests of
 clarity and efficiency, the Clerk of Court is directed to transfer the Motion to Case No. 17-3283.

         SO ORDERED.

 Dated: July 9, 2020
                                                                        /s/ Laura Taylor Swain
                                                                       LAURA TAYLOR SWAIN
                                                                       United States District Judge




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